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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                          4:12CR3072
   vs.
                                                     FINAL ORDER OF
LAFAYETTE BYRON DORSEY,                                FORFEITURE

                    Defendant.


      This matter is before the Court upon the plaintiff's Motion for Final
Order of Forfeiture (filing 80). On December 10, 2012, the Court entered a
preliminary order of forfeiture (filing 66) pursuant to 21 U.S.C. § 853, based
upon the defendant's plea of guilty to violating 21 U.S.C. §§ 841 and 846, and
his admission of the forfeiture allegation contained in the indictment (filing 1).
By way of the preliminary order of forfeiture, the defendant's interest in
$2,767.00 in United States currency was forfeited to the United States.
      As directed by the preliminary order, a Notice of Criminal Forfeiture
was posted on an official internet government forfeiture site,
www.forfeiture.gov, for at least 30 consecutive days, beginning on December
17, 2012, as required by Rule G(4)(a) of the Supplemental Rules for
Admiralty or Maritime Claims and Asset Forfeiture Actions. A Declaration of
Publication (filing 79) was filed on February 25, 2013. The Court has been
advised by the plaintiff that no petitions have been filed, and after reviewing
the record, the Court finds that no petitions have been filed. Accordingly,

         IT IS ORDERED:

         1.   The plaintiff's Motion for Final Order of Forfeiture (filing
              80) is granted.

         2.   All right, title, and interest in and to the $2,767.00 in United
              States currency, held by any person or entity, are hereby
              forever barred and foreclosed:

         3.   The $2,767.00 in United States currency is forfeited to the
              plaintiff;
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    4.    The plaintiff is directed to dispose of the properties
          described above in accordance with law.

    DATED this 4th day of March, 2013.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge




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